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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

MARK ANDREWS,
            Plaintiff,
                                                Case No. 1:22-CV-04259-SDG
v.

DINESH D’SOUZA, TRUE THE VOTE,
INC., CATHERINE ENGLEBRECHT,
GREGG PHILLIPS, D’SOUZA MEDIA
LLC, SALEM MEDIA GROUP, INC.,
REGNERY PUBLISHING, INC., and
JOHN DOES,
            Defendants.


     DEFENDANTS DINESH D’SOUZA AND D’SOUZA MEDIA LLC’S
                 NOTICE OF MANUAL FILING
      Please take notice that Defendants Dinesh D’Souza and D’Souza Media LLC

(“D’Souza Defendants) will manually file the following documents or things in

connection with its forthcoming Motion for Summary Judgment:

      1.    Exhibit 9 - DVD titled, “2000 Mules”; and

      2.    Exhibit 53 - Hardback book titled, 2000 Mules.

      These items were not filed electronically because the documents or things

cannot be converted to an electronic format and the D’Souza Defendants are excused

from filing these documents or things electronically by Court order.




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      A copy of the DVD has previously been manually produced to all parties as

DD_000536, and a copy of the book has previously been manually produced to all

parties as DD_000535.

      Respectfully submitted this 20th day of December, 2024.

                                     BUCHALTER APC

                                     /s/ Amanda G. Hyland
                                     Amanda G. Hyland
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                                     Attorneys for Defendants Dinesh D’Souza
                                     and D’Souza Media LLC

             CERTIFICATE OF COMPLIANCE WITH L.R. 5.1

      I HEREBY CERTIFY that the foregoing document was prepared in Times

New Roman, 14-point font, as approved by Local Rule 5.1.

                                     /s/ Amanda G. Hyland
                                     Amanda G. Hyland
                                     Georgia Bar No. 325115

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                             Attorney for Defendants Dinesh D’Souza
                             and D’Souza Media LLC




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